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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)         )              MDL NO. 2740
PRODUCTS LIABILITY LITIGATION )
                                    )              SECTION “N” (5)
                                    )
                                    )              HON. KURT D. ENGELHARDT
THIS DOCUMENT RELATES TO:           )
Phyllis Stacy v. Sanofi US Services )
Inc., et al.; Case No 2:17-cv-03401 )
                                    )


                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Phyllis Stacy, by and through undersigned counsel, pursuant to Fed. R. Civ. P.

41(a)(1)(A), hereby voluntarily dismiss claims against Defendants Sandoz Inc., McKesson

Corporation d/b/a McKesson Packaging, Sun Pharma Global FZE, Sun Pharma Global Inc.,

Caraco Pharmaceutical Laboratories Ltd., Allergan Finance LLC f/k/a Actavis Inc., and Actavis

Pharma Inc. only in the above captioned action in the Taxotere (Docetaxel) Products Liability

Litigation, MDL 2740, with prejudice, each party to bear its own costs.          Plaintiff is not

dismissing her claims against Defendants Sanofi-Aventis U.S. LLC, Sanofi US Services Inc.

f/k/a Sanofi-Aventis U.S. Inc., or Sanofi-Aventis U.S. LLC d/b/a Winthrop U.S.

Dated this 27th Day of March, 2018


                                                   SIMMONS HANLY CONROY

                                                   /s/ Holly Nighbert
                                                   Holly Nighbert (IL #6325135)
                                                   One Court Street
                                                   Alton, IL 62002
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                                                   Attorney for Plaintiff
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                                        CERTIFICATION
       Pursuant to PTO No. 37A, Plaintiff’s counsel notified all appropriate Defense counsel 14

days prior and there is no opposition to this notice.


Dated: March 27, 2018


                                                        /s/ Holly Nighbert
                                                        HOLLY NIGHBERT




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2018, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notifications of such

filing to the CM/ECF participants registered to receive service in this MDL.

                                                    /s/ Holly Nighbert
                                                    HOLLY NIGHBERT




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